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IN RE: : MEMORANDUM DECISION
: AND ORDER

03 MDL 1570 (GBD) (SN)

TERRORIST ATTACKS ON
SEPTEMBER 11, 2001

This document relates to:

Thomas Burnett, Sr., et al. y. The Islamic Republic of Iran et al., 15 Civ. 9903
(GBD) (SN)

GEORGE B. DANIELS, United States District Judge:

On January 21, 2020, the Burnett Plaintiffs moved this Court to issue final judgments
against the Islamic Republic of Iran and award compensatory damages for pain and suffering
in light of personal injury claims sustained by the Plaintiffs during the September 11, 2001
terrorist attacks. (Pls.’ Notice of Mot. for Entry of Partial Final Default Js. on Behalf of
Burnett/Iran Personal-Injury Pls., ECF No. 5711.)!_ The moving Plaintiffs are individuals
who were either on site at the time of the terrorist attacks or who were in the vicinity of the
areas where the attacks occurred, which caused subsequent damage. (Mem. of Law for Entry
of Partial Final Default Js. on Behalf of Burnett/Iran Personal-Injury Pls., ECF No. 5712, at
6.) Before this Court is Magistrate Judge Sarah Netburn’s February 7, 2020 Report and
Recommendation (the “Report’’), recommending that this Court grant Plaintiffs’ motion and

recommending the amounts in which each Plaintiff should be awarded pain and suffering

 

' All citations included herein refer to documents filed in the 9/11 multidistrict litigation docket. See
In re Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN).

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damages. (Report, ECF No. 5879, at 27-29.) This Court ADOPTS Magistrate Judge

Netburn’s Report.

I. LEGAL STANDARDS

A court “may accept, reject, or modify, in whole or in part, the findings or
recommendations” set forth in a magistrate judge’s report. 28 U.S.C. § 636(b)(1)(C). The
Court must review de novo the portions of a magistrate judge’s report to which a party
properly objects. /d. Portions of a magistrate judge’s report to which no or “merely
perfunctory” objections are made are reviewed for clear error. Edwards y. Fischer, 414
F. Supp. 2d 342, 346-47 (S.D.N.Y. 2006) (citation omitted). Clear error is present only
when “upon review of the entire record, [the court is] left with the definite and firm
conviction that a mistake has been committed.” United States v. Snow, 462 F.3d 55, 72 (2d
Cir. 2006) (citation omitted).

No party has filed any objections. Accordingly, this Court reviews the Report for

clear error.

Il. THE FRAMEWORK APPLIED TO PERSONAL INJURY PLAINTIFFS IS NOT
CLEARLY ERRONEOUS
Magistrate Judge Netburn properly determined that Plaintiffs may recover for
“economic damages, solatium, pain and suffering, and punitive damages” in an action under
Section 1605A. (Report at 2 (quoting 28 U.S.C. § 1065A(c)(4)).) As the Report explains,
in such an action, a plaintiff “may recover damages by proving ‘that the projected
consequences are reasonably certain (i.e. more likely than not) to occur, and must prove the

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amount of damages by a reasonable estimate.’” (/d. (quoting Fraenkel v. Islamic Republic

 
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of Iran, Ministry of Foreign Affairs, et al., 892 F.3d 348, 353 (D.C. Cir. 2018) (quoting Hill
v. Republic of lraq, 328 F.3d 680, 684 (D.C. Cir. 2003))).)

A review of Plaintiffs’ submissions makes clear that each of the individual Plaintiffs
has suffered profoundly as a result of the tragic events of September 11, 2001. Relying
heavily on the same logic previously used by Magistrate Judge Frank Maas in his
recommendation that this Court grant an upward departure for solatium awards to immediate
family members, (see R. & R. to the Honorable George B. Daniels dated July 30, 2012, ECF
No. 2618, adopted by Mem. Decision and Order dated Oct. 3, 2012, ECF No. 2623), this
Court finds that Judge Netburn properly determined that the following personal injury
awards are appropriate, beginning with a baseline of $7,000,000 as an upward departure from
the $5,000,000 baseline assumption described in Wultz v. Islamic Republic of Iran, 864

F. Supp. 2d 24, 37-38 (D.D.C. 2012):

 

 

 

 

Category of Injury Pain and Damages Award
Significant $5,000,000
Severe $7,000,000
Devastating $10,000,000

 

 

 

 

(See Report at 6.) Further, Magistrate Judge Netburn did not err in defining what type of

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injuries this Court will typically consider to be “significant,” “severe,” or “devastating,” nor
did she err in reserving this Court’s discretion to award further upward departures in what

appears to be exceptional circumstances. (/d. at 6~9.)

 

 
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A. The Report Did Not Err in Determining That the Individual Plaintiffs Are
Entitled to Pain and Suffering Damages.

Magistrate Judge Netburn properly determined that awards of pain and suffering
damages, as broken down in Exhibit A of this opinion, are appropriate. Plaintiffs submitted
declarations wherein they extensively detailed the injuries they sustained during the
September 11, 2001 terrorist attacks. (See Decl. in Supp. of Mot. for Entry of Partial Final
Default Js. on Behalf of Burnett/Iran Personal-Injury Pls., ECF No. 5713.) The Report
accurately describes the relevant injuries, and Magistrate Judge Netburn did not err in her

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categorization of each injury as “significant,” “severe,” or “devastating,” nor did she err in
finding that Plaintiff Kevin Shaeffer’s injuries were “particularly devastating,” and finding
that Shaeffer is therefore entitled to a $12,000,000 award. (Report at 20-21.) Additionally,
Magistrate Judge Netburn appropriately found that “Plaintiffs should also be awarded

prejudgment interest on these damages from September 11, 2001, through the date of

judgment, at a rate of 4.96 percent per annum, compounded annually.” (/d. at 28.)

I. CONCLUSION

Plaintiffs’ Motion for Final Judgments, (ECF No. 5711), is GRANTED. It is

ORDERED that the Burnett Plaintiffs identified in the attached Exhibit A are
awarded judgment for pain and suffering damages as set forth in Exhibit A; and it is

ORDERED that prejudgment interest is awarded to be calculated at a rate of 4.96
percent per annum, all interest compounded annually over the same period; and it is

ORDERED that the Plaintiffs not appearing on Exhibit A and who were not
previously awarded damages may submit in later stages applications for punitive, economic,
and/or other damages awards that may be approved on the same basis as currently approved

for those Plaintiffs appearing on Exhibit A or in prior filings.
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The Clerk of Court is directed to close the motions in 03 MDL 1570, (ECF No. 5711),

and 15 Civ. 9903, (ECF No. 300), accordingly.

Dated: February 14, 2020
New York, New York

SOORDERED. FEB 1 4 2994

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GEPROEB. DANIELS
ited States District Judge

 

 
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EXHIBIT A

 

 
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] George Joseph Bachmann ] $7,000,000 }
2 Mary Ellen Barbieri $10,000,000
3 Richard A. Beatty $10,000,000
4 Jean M. Hunt $10,000,000
5 David Kletsman $5,000,000
6 Daniel Kruesi $5,000,000
7 John R. La Sala $5,000,000
8 Veronica O. Li $5,000,000
9 James Raymond McCarthy $7,000,000
10 Nancy Marie Morrison $7,000,000
1] Kofi Osei Nyantakyi $7,000,000
12 Sharon Premoli $10,000,000
13 Bryan Rodrigues $7,000,000
14 Julio Roig, Jr. $7,000,000
15 Kevin Shaeffer $12,000,000
16 Donna Singer $5,000,000
17 Eugenia S. Singer $10,000,000
18 Lauren A. Smith $7,000,000
19 Kenneth A. Summers $10,000,000
20 Michael A. Telesca $7,000,000
2] Bidiawattie Tewari $5,000,000
22 Denise Thompson $5,000,000
23 John Lewis Thurman $5,000,000
24 Phidia Wong $10,000,000

 

 

 

 
 

 

 

 

 

 

 
